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15                              UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17   ELLIOT LIBMAN, individually and on behalf        Case No. 5:22-cv-07069-EJD
     of all others similarly situated,
18

19                                       Plaintiff,   FIFTH ADMINISTRATIVE MOTION
            v.                                        TO CONSIDER WHETHER CASES
20                                                    SHOULD BE RELATED PURSUANT TO
     APPLE, INC.,                                     CIVIL L.R. 3-12 AND 7-11
21
                                       Defendant.
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     FIFTH ADMINISTRATIVE MOTION PURSUANT TO CIVIL L.R. 3-12
     CASE NO. 5:22-cv-07069
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 1           Pursuant to Rule 3-12 and Rule 7-11 of the Civil Local Rules, Elliot Libman (“Plaintiff”)

 2   moves the Court to consider whether cases should be related, as follows:

 3           I.      THE TITLE AND CASE NUMBER OF EACH APPARENTLY RELATED
                     CASE
 4
             Plaintiff is the Named Plaintiff and Class Representative in Libman v. Apple., Inc, Case No.
 5
     5:22-cv-07069 (“Libman Action”), the first-filed action.
 6
             Plaintiff moves the Court to consider whether Robinson v. Apple, Inc., No. 5:23-cv-00796-
 7
     NC (N.D. Cal.) (the “Robinson Action”) and Herrara v. Apple, Inc., 5:23-cv-00867-SVK (N.D. Cal.)
 8
     (the “Herrara Action”) (collectively, the “Actions”) should be related to the Libman Action and
 9
     assigned to this Court.
10
             II.     BRIEF STATEMENT OF THE RELATIONSHIP OF THE ACTIONS
11
             Civil Local Rule 3-12(a) provides for actions to be related when: “(1) [t]he actions concern
12
     substantially the same parties, property, transaction or event; and (2) [i]t appears likely that there will
13
     be an unduly burdensome duplication of labor and expense or conflicting results if the cases are
14
     conducted before different [j]udges.” The Actions should be related to the Libman Action because
15
     they: (a) assert the same claims against the same Defendant; (b) arise from the same underlying
16
     event, i.e., Defendant’s illegal recording of consumers’ confidential activity on its consumer mobile
17
     applications; and (c) if the Actions proceed independently of each other it will result in duplicative
18
     motions and discovery because the complaints raise the same questions of fact and law.
19
             On November 10, 2022, the Libman Action was filed.
20
             Since then, nine cases have been related to the Libman action. See Dluzak v. Apple, Inc.,
21
     5:23-cv-00426-EJD (N.D. Cal.); Abad v. Apple, Inc., 5:22-cv-07069-EJD (N.D. Cal.); Serrano v.
22
     Apple, Inc., 5:23-cv-00487-EJD (N.D. Cal.); Cima v. Apple, Inc., 5:23-cv-00397-EJD (N.D. Cal.);
23
     Farley v. Apple, Inc., 5:23-cv-00524-EJD (N.D. Cal.); Barrott v. Apple, Inc., 5:23-cv-00618-EJD
24
     (N.D. Cal.); Popa v. Apple, Inc., 5:23-v-00548-EJD (N.D. Cal.); Teixeira v. Apple, Inc., 5:23-cv-
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     00617-EJD (N.D. Cal.); Moton v. Apple, Inc., 5:23-cv-00709-EJD (N.D. Cal.).
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     FIFTH ADMINISTRATIVE MOTION PURSUANT TO CIVIL L.R. 3-12                                                 1
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 1          On February 2, 2023, the Robinson Action was filed in the Southern District of New York.

 2   Exhibit 1 to the Declaration of L. Timothy Fisher. The Robinson Action was transferred to the

 3   Northern District of California on February 23, 2023, and it was assigned to Magistrate Judge

 4   Nathanael M. Cousins the same day.

 5          On January 17, 2023, the Herrara Action was filed in the Southern District of New York.

 6   Exhibit 2 to the Declaration of L. Timothy Fisher. The Herrara Action was transferred to the

 7   Northern District of California on February 27, 2023, and it was assigned to Magistrate Judge Susan

 8   van Keulen, who recused herself that same day.

 9          All Actions are in the earliest stages and no rulings have been made.

10          All Actions assert that Apple records consumers’ personal information and activity on its

11   consumer mobile devices and applications, even after consumers explicitly indicate through Apple’s

12   mobile device settings that they do not want their data and information shared. More generally, all

13   Actions assert the same or substantially identical factual allegations against the same Defendant and

14   seek largely overlapping relief including damages, injunctive and equitable relief, interest, and

15   attorneys’ fees and costs.

16          Thus, both criteria of Civil L.R. 3-12(a) are satisfied such that consolidation before a single

17   judge will conserve the parties’ resources and judicial resources and will avoid “unduly burdensome

18   duplication of labor and expense or conflicting results.” CIV. L.R. 3-12(a)(2).

19          III.    CONCLUSION

20           In light of the nearly identical facts and claims presented in the Action, the Actions should

21   be related and assigned to this Court, where the first-filed Libman Action is pending.

22
     Dated: February 28, 2023                     BURSOR & FISHER, P.A.
23

24                                                By:     /s/ L. Timothy Fisher

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